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 1                                                             Honorable Robert S. Lasnik
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 5
                              UNITED STATES DISTRICT COURT
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8
                                                ) Case No.: C17-1077RSL
 9    ME2 PRODUCTIONS, INC.,                    )
                                                ) NOTICE OF APPEARANCE
10
              Plaintiff,                        )
11                                              )
      vs.                                       )
12                                              )
      ROBERT KARIUKI, et al.,                   )
13                                              )
              Defendants                        )
14
                                                )
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                                                )

16
             Counsel, J. Curtis Edmondson, is appearing on behalf of Defendant Jeremy Reeves in
17
     this matter.
18                                                      Respectfully Submitted,
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20
             Dated: June 11, 2018
21                                                      J. Curtis Edmondson
                                                        Attorney for Defendant
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     NOTICE OF APPEARANCE – J. CURTIS EDMONDSON
                                            Page 1
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1                                       CERTIFICATE OF SERVICE

2             I hereby certify that on June 11, 2018, I served the document(s) entitled:
3                                       NOTICE OF APPEARANCE
4
              by delivering said document to:
5
              David Lowe
6             Lowe Graham Jones, PLLC
              701 Fifth Avenue, Suite 4800
7
              Seattle, WA 98104
8
9    [X]      BY MAIL (By Following Office Business Practice): I am readily familiar with this firm’s
              practice of collection and processing correspondence for mailing. It is deposited in U.S.
10            Postal on that same day in ordinary course of business. I placed such envelope(s) for
11            collection and mailing on that date following ordinary business practice.

12   [X]      BY CM/ECF: The ECF system routinely sends a “Notice of Electronic Filing” to all
              attorneys of record who have consented to accept this notice as service of this document by
13            electronic means. Any party not receiving the Court’s electronic notification will be sent a
              copy of the foregoing document by mail.
14
15            I declare under penalty of perjury under the laws of the United States that the foregoing is
              true and correct.
16
              Executed June 11, 2018 at Hillsboro, Oregon.
17
                                                            /s/ J. Curtis Edmondson
18                                                          J. Curtis Edmondson
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     Certificate of Service
